     Case 1:17-cr-00028-FPG-JJM           Document 153        Filed 04/17/18      Page 1 of 6




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                                                                     Case # 17-CR-28-FPG-JJM-2
v.

                                                                     DECISION AND ORDER
JESSE LEWIS,
                              Defendant.
________________________________________________


                                       INTRODUCTION

       On May 17, 2017, the United States of America filed a superseding indictment charging

three individuals with various offenses related to narcotics trafficking. ECF No. 58. All pretrial

matters were referred to U.S. Magistrate Judge Jeremiah J. McCarthy pursuant to 28 U.S.C. §

636(b). On January 29, 2018, Defendant Jesse Lewis (“Defendant”) moved for a suppression

hearing to challenge the search of a property located at 234 North Ogden Street in Buffalo, New

York. ECF No. 114.

       On February 8, 2018, Magistrate Judge McCarthy issued his Report and Recommendation

(“R&R”) on Defendant’s motion, ECF No. 118, which recommended denying Defendant’s motion

for a suppression hearing because Defendant neglected to attach a necessary affidavit to his

motion. On April 6, 2018, Defendant objected to Judge McCarthy’s R&R. ECF No. 148. For the

reasons that follow, the Court accepts Judge McCarthy’s R&R. Consequently, Defendant’s motion

for a suppression hearing is denied.

                                        BACKGROUND

       Lieutenant Aaron Brennan of the Lackawanna Police Department applied for a search

warrant for a home located at 234 North Ogden Street. He described the location as a “two story

single family dwelling,” Defendant Jesse Lewis as a 5’7, 170 pound black male, and the property

to be seized as “cocaine . . . drug paraphernalia, . . . house keys which would tend to identify the
    Case 1:17-cr-00028-FPG-JJM            Document 153         Filed 04/17/18     Page 2 of 6




owner, lessee or whomever has custody or control over the premises or items seized,” among other

items. ECF No. 118-2 at 6.

       Lieutenant Brennan further disclosed in his application that a confidential source positively

identified the Defendant “from a previous arrest booking photograph as the person he/she has

observed in possession of cocaine inside 234 North Ogden Street,” and that the confidential source

had transacted “for a large quantity of cocaine with the [defendant] Jesse [Lewis] at 234 North

Ogden Street.” Id. at 7. Lieutenant Brennan also disclosed that narcotics officers had “conducted

surveillance and observed traffic coming and going and hand to hand transactions common with

narcotics activity involving the target over the past three weeks.” Id.

       In September 2016, law enforcement executed a search of 234 North Ogden Street and

allegedly found a large quantity of crack cocaine and firearms. ECF No. 114-1 at 2. Defendant

subsequently moved for a hearing “to determine whether the fruits of [the] search should be

suppressed.” ECF No. 114-3 at 2.

                                      LEGAL STANDARD

       A district court reviews those portions of an R&R to which a party has timely objected de

novo. Fed. R. Crim. P. 59(b)(3). After reviewing the R&R and the objections thereto, a district

court “may accept, reject, or modify, in whole or in part, the findings or recommendations made

by the magistrate judge.” Fed. R. Crim. P. 59(b)(3).

                                          DISCUSSION

       Judge McCarthy denied Defendant’s motion for a suppression hearing because Defendant

supported his motion with a declaration from his attorney and not, as the law requires, with an

affidavit from himself or someone else with “personal knowledge demonstrating sufficient facts”

justifying the hearing. ECF No. 118 at 2 (citing United States v. Gillette, 383 F.2d 843, 848-49 (2d

Cir. 1967)).   Judge McCarthy expressly alerted Defendant to this “longstanding” affidavit


                                                  2
    Case 1:17-cr-00028-FPG-JJM            Document 153         Filed 04/17/18      Page 3 of 6




requirement in “all of [his] Scheduling Orders.” Id.         Judge McCarthy refused to “excuse

defendant’s failure” as it “would only cause further delay in this case, which would undermine the

public’s interest in a speedy trial.” Id. at 3 (citing Zedner v. United States, 547 U.S. 489, 501-02

(2006)).

       Defendant argued in his objection to Judge McCarthy’s R&R that he satisfied the

requirement to “submit an affidavit of an individual with personal knowledge” by attaching

Lieutenant Aaron Brennan’s search warrant application to his original suppression motion.

According to Defendant, Lieutenant Brennan’s affidavit demonstrated the requisite personal

knowledge because the application “details the officer’s investigation and makes allegations of

Mr. Lewis’ continued presence at the premises and the expectation that law enforcement would

find Mr. Lewis at the 234 North Ogden Street premises at the time of the search.” Id. Defendant

argues that Judge McCarthy erred by overlooking Lieutenant Brennan’s affidavit. Id.

       The Court disagrees. As Judge McCarthy discussed in his R&R, a defendant moving to

suppress evidence bears the “burden of establishing [that he has] standing” to do so. U.S. v.

Montoya-Eschevarria, 892 F. Supp. 104, 106 (2d Cir. 1995). To establish standing, a defendant

must prove by a preponderance of the evidence that he had an actual and objectively reasonable

expectation of privacy in the searched property, Rakas v. Illinois, 439 U.S. 128, 143 (1978), which

he may do “by showing that he owned the premises or that he occupied them and had dominion

and control over them by leave of the owner.” United States v. Villegas, 899 F.2d 1324, 1333 (2d

Cir. 1990). Additionally, proof “must” be in the form of an “affidavit from [a defendant himself

or] someone [else] with personal knowledge demonstrating sufficient facts to show that [the

defendant] had a legally cognizable privacy interest in the premises at the time of the search.” U.S.

v. Ruggiero, 824 F. Supp. 379, 391 (S.D.N.Y. 1993) (citing Rawlings v. Ky., 448 U.S. 98, 114

(1980)).


                                                 3
    Case 1:17-cr-00028-FPG-JJM            Document 153         Filed 04/17/18      Page 4 of 6




       The Second Circuit’s decision in U.S. v. Watson, 404 F.3d 163 (2d Cir. 2005), is instructive.

The defendant Roger Watson moved to suppress physical evidence seized pursuant to an allegedly

illegal search of a basement apartment. Id. at 164. Watson submitted an affidavit from his attorney

averring that Watson had an expectation of privacy in the apartment. The court disregarded the

affidavit from Watson’s attorney because it was made “without any claim of personal knowledge.”

Id. at 166. The court continued that “even if the factual affirmations by defendant’s counsel were

credited, they fail to establish that defendant’s legitimate expectations of privacy were violated by

the search of” the property. Id. at 166. For instance, Watson’s attorney affirmed that the disputed

search warrant listed defendant among those who “utilized” the searched property. Id. This

affirmation, however, did not demonstrate to the court that Watson had a reasonable expectation

of privacy in the apartment because the search warrant’s language “[did] not come close to

showing that defendant ‘owned the premises or that he occupied them and had dominion and

control over them by leave of the owner.’” Id. (quoting Villegas, 899 F.2d at 1333).

       Watson’s attorney also averred that the searched apartment was his client’s former

residence, and that “the address of the [searched] residence was listed in the ‘former addresses’

section of his United States Marshals Service booking form.” Id. The court, however, noted that

Watson’s “motion papers did not identify the source of the information on the form,” nor did the

form indicate that defendant resided in the apartment on the date of the search. Id.

       Here, Lieutenant Brennan’s affidavit does not demonstrate that he had personal knowledge

that Defendant had any reasonable expectation of privacy in the premises located at 234 North

Ogden Street. Lieutenant Brennan’s affidavit does not indicate that he knew the Defendant lived

there—it only indicates that a confidential informant told him that Defendant was selling cocaine

at that address. Defendant argues that the affidavit “makes allegations of [Defendant’s] continued

presence at the premises and the expectation that law enforcement would find [Defendant] at the


                                                 4
     Case 1:17-cr-00028-FPG-JJM                   Document 153             Filed 04/17/18         Page 5 of 6




234 North Ogden Street premises,” but those allegations, like those contained in the search warrant

in Watson, do not necessarily show that defendant “owned the premises or that he occupied them

and had dominion and control over them by leave of the owner.” Villegas, 899 F.2d at 1333. The

mere fact that Defendant may have sold drugs on the premises, without more, does not establish

that he had a subjective or reasonable expectation of privacy there. The affidavit thus failed to

demonstrate the requisite “personal knowledge” of Defendant’s privacy interest in 234 North

Ogden Street.

         Defendant also attached to his suppression motion what appears to be a September 13,

2016 email from utility company National Grid addressed to an individual named “Aaron.” The

email indicates that Defendant paid utility bills for 234 North Ogden Street during a period of time

preceding the date that authorities searched the property. See ECF No. 114-1 at 2. Defendant’s

moving papers never expressly mention this email, nor do they discuss who it is from or whether

the recipient “Aaron” is Lieutenant Aaron Brennan. Additionally, Defendant erroneously referred

to the document as a warrant application, but the warrant application is clearly a different exhibit.1

The Court cannot assume from this unexplained and mislabeled document that Lieutenant Brennan

knew Defendant paid utility bills for 234 North Ogden Street, nor does Lieutenant Brennan’s

sworn affidavit substantiate that assumption. Even if Lieutenant Brennan’s affidavit discussed his

knowledge of the utility bill, it would still fall short of proving, by a preponderance of the evidence,

that Defendant held a reasonable expectation of privacy in the searched property. See Watson, 404

F.3d at 166.

         It appears to the Court that Defendant originally submitted the warrant and application

from Lieutenant Brennan to challenge the legality of the search of 234 North Ogden Street—not


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  Adding to the Court’s confusion, all of the exhibits attached to Defendant’s moving papers appear to be mislabeled.
For instance, the search warrant application is actually Exhibit 3 and not, as Defendant states, Exhibit 1. Exhibit 4 is
the actual search warrant, but Defendant labeled it the “property record search,” which actually appears to be Exhibit
2. See ECF No. 114-2.
                                                           5
    Case 1:17-cr-00028-FPG-JJM            Document 153       Filed 04/17/18     Page 6 of 6




to establish standing. Defendant’s attempt, after failing to heed Judge McCarthy’s scheduling

orders, to recharacterize Lieutenant Brennan’s warrant application as evidence supporting standing

is unavailing. Additionally, the Court agrees with Judge McCarthy’s opinion that to excuse the

Defendant’s failure would undermine the public’s interest in a speedy trial.

                                          CONCLUSION

       The Court accepts and adopts the Report and Recommendation filed by United States

Magistrate Judge Jeremiah J. McCarthy, ECF No. 118, in its entirety, and Defendant’s motion,

ECF No. 114, is denied in all respects.

       IT IS SO ORDERED.

Dated: April 17, 2018
       Rochester, New York




                                             ______________________________________
                                             HON. FRANK P. GERACI, JR.
                                             Chief Judge
                                             United States District Court




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